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April 15, 2019

VIA ECF FILING

Susan l\/Ioody, Deputy Clerk
United States District Court

Oftice of the Clerk

210 Franklin Road, SW, Room 540
Roanoke, Virginia 2401 l

Re: h'a D. Socol v, Albemarle Countv School Board and Dr. Matthew Haas
United States District Court for the Western District of Virginia
Civil Action No.: 3: l 8cv0090

Dear l\/Is. Moody:

I am Writing in response to your letter regarding trial dates in the above-referenced
matter.

Any of the trial dates you have suggested are convenient for the plaintiff However, We
Would request that one of the later trial dates-February 24th or later-be selected by the Court.
Our reason for requesting a later date relates t0 discovery in this matter. Specifically, there Will
be significant discovery to undertake in the matter, including discovery of numerous text
messages and emails that Will need to be completed prior to the taking of depositionsl Moreover,
the Court has not ruled on the Defendants’ Motion to Dismiss yet, and such discovery cannot
commence until the Court has issued its ruling and the Defendants have answered the complaint

Setting the trial date relatively late also may facilitate the use of alternate dispute
resolution in the matter. Specifically, it Will ensure that the parties have sufficient time to engage
in mediation prior to the conclusion of discovery, With the confidence that if an amicable
resolution is not reached, there Will be sufficient time to complete discovery and litigate the

matter.

Thank you, and thanks to the Court, for your consideration in this matter.

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Reply to the Staunton amca

Susan Moody
April 15, 2019
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truly yours,

      

JRA/pr
19008038

cc: Ira D. Socol (via email)
Jennifer Royer, Esq. (via ECFfiling)

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